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             IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF KANSAS
JAMES and THERESA ARNOLD;      )
JOYCE M. TAYLOR                )
                               )
                 Plaintiffs,   )
                               )
vs.                            ) Case No.: 16-1309-JTM-TJJ
                               )
MAXMIND, INC.,                 )
                               )
                 Defendant.    )
______________________________)


                         SECOND AMENDED COMPLAINT
       1.     James and Theresa Arnold are husband and wife and residents of the

state of Kansas. They formerly resided in rural Butler County, north of Potwin,

Kansas. Joyce M. Taylor is a resident of Sedgwick County, Kansas.

       2.     MaxMind, Inc., is a Delaware corporation founded in 2002 with a

principal place of business located at 14 Spring Street, 3rd Floor in Waltham,

Mass. The defendant may be served with process by service on its registered

agent, Harvard Business Services, Inc., 16192 Coastal Hwy., Lewes, DE 19958.
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      3.     This action involves a dispute between citizens of different states and

the amount in controversy is in excess of $75,000. Accordingly this Court’s

jurisdiction is invoked under 28 USC §1332. Venue is proper in this Court under

28 U.S.C. §1391(b) because a substantial part of the events giving rise to the claim

occurred in this judicial district.

                               Background of the Action

      4.     The case relates to a rural farmhouse (“the residence”) built over one

hundred years ago by Mrs. Taylor’s grandfather. The street address of the

residence is 8652 NW 120th Street, Potwin, KS., which is four miles north of

Potwin.

      5.     In March 2011, the Arnolds signed a lease agreement with Mrs.

Taylor to lease the residence, effective May 1, 2011. The Arnolds loved the home

as it was out in the country, and Mrs. Taylor gave the Arnolds and their two boys

permission to hunt and fish on the surrounding 623 acres. The location of the

residence was perfect as their sons attended the nearby Berean Academy in

Elbing and Mrs. Arnold’s mother was in a nearby nursing home.

      6.     The first week after the Arnolds moved in, two deputies from the

Butler County Sheriff’s Department came to the residence looking for a stolen

truck. This scenario repeated itself countless times over the next 5 years. The

Arnolds were repeatedly awakened from their sleep or disturbed from their daily

activities by local, state or federal officials looking for a runaway child or a


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missing person, or evidence of a computer fraud, or call of an attempted suicide.

Law enforcement officials frequently and repeatedly came to and telephoned the

residence all hours of the day or night.

      7.     Private individuals also sought out the Arnolds’ address. Angry

business owners claimed that someone at the residence was sending their

businesses thousands of email and clogging their computer systems. Private

investigators came onto the residence for various reasons. Strangers came to the

residence looking for parties. People parked their vehicles on the township road

around the residence and took pictures of the residence or tried to connect to the

Arnolds’ internet access.

      8.     In 2013, the Butler County Sheriff Department ran a background

check on the Arnolds because of all the activity taking place at the residence.

After this check, the Arnolds were told that a “LDNS Server” was located on the

property and that the Sheriff Department received weekly reports about fraud,

scams, stolen Facebook accounts, missing person reports, suicide threats from the

VA that appeared to come from the address and stolen vehicles all related to the

residence. Each incident brought law enforcement to the residence–at all hours

of the night and day. Law enforcement frequently telephoned the Arnolds to

investigate, often interrupting their sleep.

      9.     Threats began to be made against the Arnolds by individuals who

were convinced that the perpetrator of internet scamming lived at the residence.


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State investigators – convinced that the Arnolds had been involved in an identity

theft – came to the residence to take pictures of assets.

      10.    The following events appeared to originate at the residence and

brought trespassers and/or law enforcement to the residence at all hours of the

night and day: stolen cars, fraud related to tax returns and bitcoin transactions,

stolen credit cards, suicide calls, private investigators, stolen social media

accounts, fund raising events, and numerous other events.

      11.    The plaintiffs made many attempts at discovering the cause of these

problems over the years. In April 2013, the Arnolds contacted Verizon about the

LDNS server believed to be located at the property, but it turned out not to be the

cause of the problems. Starting in May 2013, the plaintiffs participated in an

investigation of the problems relating to the property conducted by a private

Wichita, Kansas law firm hired by Mrs. Taylor. The plaintiffs also sought the help

of local law enforcement in determining the cause of the problems. All of the

plaintiffs’ efforts to determine the cause failed.

      12.    In the spring of 2016, the plaintiffs discovered the cause of their

problem when an investigative reporter for Fusion wrote an article entitled “How

an Internet Mapping Glitch Turned a Random Kansas Farm into a Digital Hell.”

The article blames the “digital hell” on a Massachusetts company, the defendant

MaxMind, Inc.




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      13.    MaxMind claims that it provides IP intelligence through the GeoIP

brand. According to its website, over 5,000 companies use GeoIP data to locate

their Internet visitors and show them relevant content and ads, perform analytics,

enforce digital rights, and efficiently route Internet traffic. The defendant claims

that businesses can obtain additional insights into their customers' connection

speeds, ISPs, and more using GeoIP data.

      14.    As noted in the Fusion article, IP refers to the Internet Protocol, a

unique identifier assigned to a computer or computer network. The IP plays an

essential role in computers talking to each other and every internet-connected

device needs one. Sophisticated sleuthing can allow one to find out information

about an IP address.

      15.    According to the article, the problem started in 2002 when the

defendant decided it could make money by providing IP intelligence to companies

that wanted to know the location of computers accessing their websites.

      16.    IP mapping is not an exact science. When it is at its most precise, it

can be mapped to a house. At its least precise, it can be mapped to a country.

Incredibly, MaxMind made the decision to set a default location for IP addresses

at the residence when it was unable to pinpoint the IP address of a user.

On information and belief, MaxMind was indifferent to the likelihood that this

decision—to link millions of IP addresses to the residence by default—would harm

or endanger the people who live at residence.


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      17.    Accordingly, for the last 14 years, every time MaxMind’s database

was queried about a location in the United States it could not identify, it sent the

inquiry the address of the residence. There are now over 600 million IP

addresses associated with the residence. Many of these IP addresses are

associated with or have been used for illegal, immoral, or embarrassing purposes

including fraud and child pornography. Over 5,000 companies draw information

from MaxMind’s database.

      18.    MaxMind publishes free, public downloadable databases on its

website which falsely linked the residence with millions of IP addresses that had

been used for illegal, immoral, or embarrassing purposes. These databases are

available for download without charge and are updated monthly. On information

and belief, thousands of individuals and entities have used the information

published in these databases.

      19.    On information and belief, MaxMind also sells access to databases

which falsely linked the residence with millions of IP addresses used for illegal,

immoral, or embarrassing purposes, and published that information to thousands

of its customers.

      20.    The defendant’s conduct has resulted in Mr. Arnold being reported

as holding girls at the residence for the purpose of making pornographic films.

The plaintiffs have been painted as criminals, hackers, and fraudsters by the

information published by MaxMind. The plaintiffs have been variously accused of

email and website hacking, stealing identities, property crimes and subjecting



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others to electronic or physical harassment and cyber crimes. The plaintiffs’

reputation in the community has been lowered as a result.

      21.    The defendant’s conduct has caused an almost constant barrage of

unwanted visitors and telephone calls to come to the residence day and night

since they moved in. The defendant’s conduct has thus created a nuisance which

has unreasonably and substantially impaired the plaintiffs’ peaceful use and

enjoyment of their property. The plaintiffs have as a result suffered substantial

and unreasonable annoyance, discomfort, inconvenience, and loss of peace of

mind relating to their property.

      22.    The defendant’s conduct has intentionally caused numerous persons

to enter or remain upon the plaintiffs’ land without the plaintiffs’ consent or

permission and interfere with the plaintiffs’ exclusive possession of their

residence. Mrs. Taylor is afraid to lease the residence because she is afraid a

tenant might be injured.

      23.    The defendant’s conduct has been outrageous and unreasonable, and

has placed the plaintiffs in a false light, defamed them, and invaded their privacy.

      24.    As a result of the defendant’s reckless and grossly negligent conduct,

the Arnolds have sustained great emotional distress, fear for their safety,

humiliation, and depression. The Arnolds have regularly lost sleep, and Mrs.

Arnold has even slept in her clothes and shoes out of fear. The Arnolds have been

afraid to be home and afraid to leave their home because of what might happen

while they are gone. They have been advised by law enforcement that it may be



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necessary to shoot and kill their dog in order to enter their residence to

investigate any of the regular reports of suicide coming from the residence. As a

result the plaintiffs seek compensatory and punitive damages in excess of

$75,000.

      WHEREFORE the plaintiffs respectfully pray for a judgment in excess of

$75,000, plus their costs, and any further relief this Court would deem just or

equitable.


                                Respectfully submitted,

                                DEPEW GILLEN RATHBUN & MCINTEER LC


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                      DESIGNATION OF PLACE OF TRIAL

       COME NOW the plaintiffs and designate Wichita, Kansas, as the place of

the trial of this action.

                            Respectfully submitted,

                            DEPEW GILLEN RATHBUN & MCINTEER LC

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                       REQUEST FOR JURY TRIAL

      COME NOW the plaintiffs and respectfully request a trial by jury with

regard to the above-captioned action.

                        Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of February, 2017, a true and correct copy

of the above and foregoing Second Amended Complaint was filed via the U.S. Court

CM/ECF filing system and notice sent electronically to:

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